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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
              In Re: Brian P. Mallon, a/k/a         : Chapter 7
              Brian P. Mallon
                                                    : Bankruptcy No.18-11479-jkf
                  Debtor(s)                         :
                                                    : 11 U.S.C. § 362

 Gary F. Seitz, Esquire
                                          Trustee
                        vs.
 Brian P. Mallon, a/k/a Brian P. Mallon
                                      Debtor(s)
                      and
 Carrington Mortgage Services, LLC
                                Secured Creditor
                               RESPONDENTS

        RESPONSE IN OPPOSTION OF CARRINGTON MORTGAGE SERVICES, LLC
        TO APPLICATION OF THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL
          REAL ESTATE SERVICES AND REAL ESTATE BROKER TO PROCURE
        CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C.§§327, 328, 330 AND 506
       Carrington Mortgage Services, LLC by and through its undersigned attorney, Sarah K.
McCaffery, Esquire, hereby opposes Application of the Chapter 7 Trustee to Retain BK Global
Real Estate Services and Real Estate Broker to Procure Consented Public Sale Pursuant to 11
U.S.C.§§327, 328, 330 and 506 for the following reasons:
   1. Denied. Debtor’s Petition is a writing which speaks for itself and Trustee’s
       characterization thereof is denied.
   2. Denied. The docket is a public record which speaks for itself and Trustee’s
       characterization thereof is denied.
   3. Denied. 28 U.S.C. §§ 157 and 1334 are writings which speak for themselves and
       Trustee’s characterizations thereof are denied. Additionally, 28 U.S.C. § 1408 and 1409
       are writings which speak for themselves and Trustee’s characterizations thereof are
       denied.
   4. Denied. 11 U.S.C. § 327 and Rule 2014 of the Federal Rules of Bankruptcy Procedure
       are writings which speak for themselves and Trustee’s characterizations thereof are
       denied.
   5. Denied. Upon information and belief, Secured Creditor/Respondent avers that on the date
       of the Petition filing, Debtor Brian Mallon was a co-owner of the property located at
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     3544 Shelmire Avenue, Philadelphia, PA 19136. A true and correct copy of the most
     recent Deed is attached hereto as Exhibit “A” and incorporated herein.
  6. Denied. Debtor’s filed schedules are writings which speak for themselves and Trustee’s
     characterization thereof is denied.
  7. Denied. Secured Creditor/Respondent cannot agree nor consent to Trustee’s Application.
     Secured Creditor/Respondent has obtained Relief from the Automatic Stay on April 25,
     2018 and expended substantial sums to proceed with a Sheriff’s Sale scheduled for July
     10, 2018 and would be unjustly harmed if Trustee’s Application were granted.
     a. Denied. Secured Creditor/Respondent cannot agree nor consent to allow Trustee to
         sell the Real Estate at a public sale, as Secured Creditor/Respondent has already
         obtained Relief from the Automatic Stay on April 25, 2018 and expended substantial
         sums to proceed with a Sheriff’s Sale scheduled for July 10, 2018.
     b. Denied. Secured Creditor/Respondent cannot agree nor consent to purchase the Real
         Estate from Debtor’s estate if Trustee is unable to identify a qualified third-party
         purchaser. Secured Creditor/Respondent has already obtained Relief from the
         Automatic Stay on April 25, 2018 and expended substantial sums to proceed with a
         Sheriff’s Sale scheduled for July 10, 2018. Should the property fail to sell to a third-
         party purchaser at the scheduled Sheriff’s Sale Secured Creditor/Respondent shall
         purchase the property from the Sheriff.
     c. Denied. Secured Creditor/Respondent cannot agree nor consent to release the
         Mortgage or otherwise waive its claims against the estate with respect to the Real
         Estate as Secured Creditor/Respondent has already obtained Relief from the
         Automatic Stay on April 25, 2018 and a Sheriff’s Sale is scheduled for July 10, 2018.
     d. Denied. Secured Creditor/Respondent cannot agree nor consent to pay any surcharge
         resulting from 11 U.S.C. § 506, including payment of a 6% real estate brokerage
         commission and listing agent commision, reimbursement of the out-of-pocket
         expenses of BKRES and Listing Agent, and a carve-out for the administrative
         expenses of Debtor’s estate. Secured Creditor/Respondent has already obtained
         Relief from the Automatic Stay on April 25, 2018 and expended substantial sums to
         proceed with the Sheriff’s Sale scheduled for July 10, 2018. Additionally, Secured
         Creditor/Respondent cannot agree nor consent to pay these fees as they are expressly
         prohibited by the HUD investor guidelines and this is a HUD backed loan.
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  8. Denied. Secured Creditor/Respondent cannot consent to Trustee’s Application nor to any
     future anticipated Motion to Sell. As previously mentioned, Secured
     Creditor/Respondent has already obtained Relief from the Automatic Stay on April 25,
     2018 and expended substantial sums to proceed with the Sheriff’s Sale scheduled for July
     10, 2018 and would be unjustly harmed if Trustee’s Application is granted.
  9. Denied. 11 U.S.C. § 327, 328(a) and 330 are writings which speak for themselves and
     Trustee’s characterization thereof is denied. Moreoever, as previously stated Secured
     Creditor/Respondent cannot agree nor consent to Trustee’s Application as Secured
     Creditor/Respondent has already obtained Relief from the Automatic Stay and expended
     substantial sums to proceed with a Sheriff’s Sale scheduled for July 10, 2018 and would
     be unduly harmed if Trustee’s Application is granted. Additionally, Secured
     Creditor/Respondent cannot agree nor consent to payment of the fees requested in
     Trustee’s application as payment of such fees is expressly prohibited by HUD guidelines
     and this is a HUD backed loan.
  10. Denied as a conclusion of law to which no response is required.
  11. Denied. Secured Creditor/Respondent cannot agree nor consent to Trustee’s Application
     as Secured Creditor/Respondent has already obtained Relief from the Automatic Stay and
     expended substantial sums to proceed with the Sheriff’s Sale scheduled for July 10, 2018.
     Additionally, Secured Creditor/Respondent cannot agree nor consent to Trustee’s
     Application as payment of the fees requested are expressly prohibited by HUD guidelines
     and this is a HUD backed loan. As such, Secured Creditor/Respondent would be unduly
     harmed if Trustee’s Application were granted.
  12. Denied. Secured Creditor/Respondent cannot agree nor consent to Trustee’s Application
     as Secured Creditor/Respondent has already obtained Relief from the Automatic Stay and
     expended substantial sums to proceed with the Sheriff’s Sale scheduled for July 10, 2018.
     Additionally, Secured Creditor/Respondent cannot agree nor consent to Trustee’s
     Application as payment of the fees requested are expressly prohibited by HUD guidelines
     and this is a HUD backed loan. As such, Secured Creditor/Respondent would be unduly
     harmed if Trustee’s Application were granted.
  13. Denied. The BKRES Agreement and Listing Agreement are writings which speak for
     themselves and Trustee’s characterization thereof is denied. Moreover, Secured
     Creditor/Respondent cannot agree nor consent to Trustee’s Application as Secured
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     Creditor/Respondent has already obtained Relief from the Automatic Stay and expended
     substantial sums to proceed with the Sheriff’s Sale scheduled for July 10, 2018.
     Additionally, Secured Creditor/Respondent cannot agree nor consent to Trustee’s
     Application as payment of the fees requested are expressly prohibited by HUD guidelines
     and this is a HUD backed loan. As such, Secured Creditor/Respondent would be unduly
     harmed if Trustee’s Application were granted.
  14. Denied. Secured Creditor/Respondent cannot agree nor consent to Trustee’s Application
     as Secured Creditor/Respondent has already obtained Relief from the Automatic Stay and
     expended substantial sums to proceed with the Sheriff’s Sale scheduled for July 10, 2018.
     Additionally, Secured Creditor/Respondent cannot agree nor consent to Trustee’s
     Application as payment of the fees requested are expressly prohibited by HUD guidelines
     and this is a HUD backed loan. As such, Secured Creditor/Respondent would be unduly
     harmed if Trustee’s Application were granted.
  15. Denied. The BKRES Agreement and Listing Agreement are writings which speak for
     themselves and Trustee’s characterization thereof is denied. Moreover, Secured
     Creditor/Respondent cannot agree nor consent to Trustee’s Application as Secured
     Creditor/Respondent has already obtained Relief from the Automatic Stay and expended
     substantial sums to proceed with the Sheriff’s Sale scheduled for July 10, 2018.
     Additionally, Secured Creditor/Respondent cannot agree nor consent to Trustee’s
     Application as payment of the fees requested are expressly prohibited by HUD guidelines
     and this is a HUD backed loan. As such, Secured Creditor/Respondent would be unduly
     harmed if Trustee’s Application were granted.
  16. Denied. The Affidavit of Disinterestedness of BKRES is a writing which speaks for
     itself and Trustee’s characterization thereof is denied.
  17. Denied. The Affidavit of Disinterestedness of Listing Agent is a writing which speaks
     for itself and Trustee’s characterization thereof is denied.
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      WHEREFORE, Carrington Mortgage Services, LLC prays that is opposition be sustained
   and that Application of the Chapter 7 Trustee to Retain BK Global Real Estate Services and
   Real Estate Broker to Procure Consented Public Sale Pursuant to 11 U.S.C.§§327, 328, 330
   and 506 be denied.

Date: ____________                          /s/ Sarah K. McCaffery
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                                           Richard M. Squire & Associates, LLC
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